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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                          )
JUDICIAL WATCH, INC.,                     )
                                          )
      Plaintiff,                          )
                                          )
v.                                        )                    Case No. 1:15-cv-00687
                                          )
UNITED STATES DEPARTMENT OF STATE, )
                                          )
      Defendant.                          )
                                          )
__________________________________________)

                                     JOINT STATUS REPORT

          The parties submit this joint status report pursuant to the Court's February 18, 2016

Minute Order.

          On April 8, 2016, defendant provided plaintiff with a draft Vaughn index of withholdings

of information contained in documents responsive to plaintiff's Request F-2015-05048, which

seeks, by agreement of the parties, see July 2, 2015 Joint Proposed Production Schedule (ECF

No. 7):

                 Any and all records concerning, regarding, or relating to the
                 production of 55,000 emails by former Secretary of State Hillary
                 Clinton to the U.S. Department of State, excluding any court
                 filings, press statements, or other public documents, or drafts
                 thereof.

                 Any and all communications between employees of the U.S.
                 Department of State and former Secretary Clinton and/or her
                 representatives concerning, regarding, or relating to emails sent or
                 received by former Secretary Clinton on non-"state.gov" email
                 addresses.

The draft Vaughn index encompasses approximately 150 documents that have been either fully

or partially withheld as exempt from disclosure. Plaintiff intends to review the Vaughn index
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and present any potential challenges to defendant so that the parties can discuss a possible

resolution or narrow the issues for summary judgment.

        Regarding plaintiff's Request F-2015-05056, as agreed by the parties and ordered by the

Court, see Aug. 3, 2015 Minute Order; July 2, 2015 Joint Proposed Production Schedule (ECF

No. 7), defendant's production of responsive records has been made under the court-ordered

production schedule in Leopold v. U.S. Department of State (D.D.C. 15-cv-123-RC) (see

Leopold, Feb. 11, 2016 Order (ECF No. 55), May 27, 2015 Order (ECF No. 17)). Request F-

2015-05056 seeks "any and all emails sent or received by former Secretary of State Hillary

Rodham Clinton in her official capacity as Secretary of State during her tenure as Secretary of

State." On February 29, 2016, defendant made its final production in Leopold of non-exempt

portions of the approximately 55,000 pages of emails responsive to this Request. On March 1,

2016, plaintiff raised a question regarding the scope of the search plaintiff believes is necessary

to respond to this Request. The parties intend to engage in further discussions regarding the

issue raised by plaintiff.

        Therefore, the parties propose engaging as necessary in the discussions described above

with respect to each of plaintiff's Requests, and filing another joint status report within thirty

days, or by May 11, 2016, that addresses the need for any further proceedings and proposes any

necessary briefing schedule.

                                               Respectfully submitted,

                                               FOR PLAINTIFF:

                                               /s/ Lauren Burke
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                                               LAUREN BURKE
                                               Judicial Watch, Inc.
                                               425 Third Street, S.W.
                                               Suite 800
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Date: April 11, 2016
